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              UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

   REIYN KEOHANE,

                 Plaintiff,

   v.                                  Case No. 4:16cv511-MW/CAS

   JULIE JONES, In Her Official
   Capacity As Secretary, Florida
   Department Of Corrections; TRUNG
   VAN LE, In His Official Capacity As
   Chief Health Officer Of The Desoto
   Annex; TERESITA DIEGUEZ, In Her
   Official Capacity As Medical Director
   Of Everglades Correctional Institution;
   AND FRANCISCO ACOSTA, In His
   Official Capacity As Warden Of
   Everglades C.I.,

                  Defendants.
                                  /

                   ORDER GRANTING IN PART &
             DENYING IN PART THE MOTIONS TO DISMISS

        This Court considered Defendants’ Motions to Dismiss, ECF Nos. 20 &

22, during its hearing on Plaintiff’s Motion for Preliminary Injunction. Defense

counsel moved to dismiss Defendants Le and Acosta as parties during the

hearing. Both parties stipulated to the motion, and Secretary Jones’ counsel

affirmed that she will ensure that Defendant Acosta complies with any relief




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this Court grants. Accordingly, the motions are GRANTED. Defendants Le

and Acosta are dismissed.

     As explained on the record, the motions to dismiss, ECF Nos. 20 & 22,

are otherwise DENIED. Kothmann v. Rosario, 558 F. App'x 907, 907 (11th Cir.

2014).

     SO ORDERED on October 19, 2016.

                                  s/Mark E. Walker
                                  United States District Judge




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